                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

 SECURITIES AND EXCHANGE
 COMMISSION,

                       Plaintiff,
                                                            CASE NO. 3:16-CV-285
 v.
                                                    RECEIVER’S FINAL REPORT AND
 RICHARD W. DAVIS, JR.,                                    ACCOUNTING

                       Defendant,
 and

 DCG REAL ASSETS, LLC, et al.,

                       Relief Defendants.



       A. Cotten Wright as Receiver (the “Receiver”) for the assets of DCG Real Assets, LLC;

DCG Commercial Fund I, LLC; H20, LLC; DCG PMG, LLC; DCG PMF, LLC; Finely Limited,

LLC; DCG Funds Underwriting, LLC; DCG ABF Management, LLC; DCG Funds Management,

LLC; Davis Capital Group, Inc.; Davis Financial, Inc.; DCG Partners, LLC; DCG Real Estate

Development, LLC; Huntersville Plaza Phase One, LLC; Huntersville Plaza Phase Two, LLC;

North Lake Business Park, LLC; and Richard Davis Enterprises, LLC (collectively, the

“Receivership Defendants”), files this Receiver’s Final Report pursuant to this Court’s Temporary

Receivership Order entered on June 8, 2016, which was made permanent by Orders entered on

August 5, 2016 and September 22, 2016 (collectively, the “Receivership Order”). This report (the

“Final Report”) reflects the Receiver’s final report and accounting as required in paragraphs 30

and 33 of the Receivership Order.




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                       I.      SUMMARY OF RECEIVER’S ACTIVITIES

        A.      Summary of Operations.

        Each of the Receivership Defendants had ceased operations before the receivership case

(the “Receivership Case”) was filed. Therefore, the Receiver did not operate any business of the

Receivership Defendants during the course of the Receivership Case.

        B.      Cash on Hand / Receipts and Disbursements.

        On June 23, 2016, the Receiver established an account for the Receivership at Rabobank,

N.A. On March 20, 2019, the Receivership bank account was moved to Metropolitan Commercial

Bank. Receivership funds on deposit with either Rabobank or Metropolitan Community Bank

were at all times insured by the F.D.I.C. The Standardized Fund Accounting Report detailing all

financial activity during the Receivership Case is attached as Exhibit A.

        C.      Description of Known Receivership Property.

        The Receiver marshaled and liquidated all receivership property (the “Receivership

Assets”) known to her or discovered during the Receivership Case. On July 5, 2016, the Receiver

and her counsel had a phone conference with Defendant Richard Davis during which they

requested information about Receivership matters. In particular, the Receiver asked Davis to

identify any assets that he may not have previously disclosed. After that date, the Receiver learned

of certain assets that were not disclosed by Davis, which were either liquidated or abandoned

pursuant to Court orders.

        Identification of Assets. The Receiver maintains that all Receivership Assets have been

identified and liquidated. Attached as Exhibit B is chart listing all Receivership Assets along with

the amounts recovered for each asset, resulting in a total recovery of $2,550,822.08.1 Information


1
        Ex. A shows total receipts of $2,551,721.00, which includes $898.92 in expense refunds received by the
Receivership plus the total recovery for Receivership Assets of $2,550,822.08.


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regarding specific Receivership Assets is summarized below.

              (1)     Real Property in Mecklenburg County, NC. The Receiver obtained limited

       title searches on each of the four (4) parcels of undeveloped real property in Huntersville,

       Mecklenburg County, North Carolina, all of which has been sold.

                      (a)      Property contiguous to Town of Huntersville property. Two parcels

              of Receivership property, 102 S. Old Statesville Road and 109 Gilead Road, were

              surrounded by or adjacent to property owned by the Town of Huntersville.

              Additionally, the Receiver foreclosed on deeds of trust held by Aegis/DCG Asset

              Backed Fund, LLC, now known as DCG Commercial Fund I, LLC, on a portion of

              two additional parcels that are contiguous to property owned by the Town,

              identified as Mecklenburg County Tax Parcel Nos. 017-116-18 and 017-116-43.

              The Receiver sold all the Receivership property adjacent to parcels owned by the

              Town of Huntersville to the Town for a gross sale price of $165,000.00. (Order,

              Doc. No. 122).

                      (b)      Property titled to Finely Limited, LLC. On March 26, 2019, the

              Court authorized the sale of Receivership property located at 11711 Alexandriana

              Road, Huntersville, North Carolina (the “Alexandriana Property”). (Doc. No. 253).

              That Order was amended on June 24, 2019 to correct the prior Order to include a

              provision invalidating the deed of trust on the Alexandriana Property from North

              Lake Business Park, LLC to Davis Capital Group, LLC. (Doc. No. 261). On

              August 27, 2019, the sale of the Alexandrana Property closed with a gross sale price

              of $775,000.00. (Report of Sale, Doc. No. 271).




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              (c)     Property titled to Huntersville Plaza Phase One, LLC. Receivership

       property located at 16614 Old Statesville Rd, Huntersville, NC was sold, with Court

       approval, for a gross sale price of $700,000.00. (Doc. No. 159).

              (d)     Property titled to Davis Financial, Inc. Residential real property

       located at 9137 Mount Holly-Huntersville Road, Huntersville, North Carolina (the

       “Residential Property”), was sold in a Court-approved sale for $140,000.00. (Doc.

       No. 142). Following the sale of the Residential Property, the Receiver negotiated

       with the co-owners as to the appropriate allocation of the net sale proceeds.

       Ultimately, those issues were settled by consent with 55% of the sale proceeds, less

       55% of the expenses associated with maintaining the Residential Property, going

       to the co-owners, and the Receivership retaining 45% of the proceeds, net of the

       Receivership’s share of the expenses. (Order, Doc. No. 162).

       (2)    Real Property in McDowell County, N.C. The Receivership obtained

turnover of $196,225.56 in surplus tax foreclosure sale proceeds with respect to property

formerly owned by H20, LLC in McDowell County. Other McDowell County property

titled to H20, LLC was abandoned pursuant to an Order entered by the Court. (Doc. No.

62).

        (3)   Real Property in Grayson County, VA.          The Court-approved sale of

property located in Grayson County, Virginia, brought in net proceeds of $445,041.76 as

indicated in the Report of Sale filed on February 20, 2019. (Doc. No. 243). In accordance

with an Order approving a settlement with Ken Hageman that was entered in April, 2017

resolving a pre-Receivership complaint alleging a constructive trust, the Receiver

distributed $274,590.77 to Mr. Hageman. (Doc. No. 104).




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       (4)     Real Property in Caldwell County, NC. The Receiver sold a residential lot

titled to Richard Davis Enterprises, LLC located at 5330 Beacon Ridge, Granite Falls,

Caldwell County, North Carolina, for a gross sale price was $10,500.00. (Doc. No. 173).

However, payment of past due taxes and homeowner’s association fees resulted in a net

recovery for the Receivership of only $1,481.68.

       (5)     Bank Funds. As indicated in Ex. A, the Receiver obtained turnover of funds

held in various bank accounts owned by the Receivership Defendants; those funds totaled

$2,954.53.

       (6)     Disgorgement as to DCG Commercial Holdings, LLC and DCG

Commercial, LLC. DCG Commercial Holdings, LLC and DCG Commercial, LLC were

dismissed from this case upon their compliance with an Order requiring disgorgement of

$13,677.57 to the Receivership account. (Doc. No. 50).

       (7)     Mining Claims. Early in the Receivership Case, the Receiver confirmed

that no mining claims or interests were held by any of the Receivership Defendants as of

the date of the Receivership filing.

       (8)     Arbitration Award Regarding Willow Creek Mine. On April 10, 2015, an

Arbitration Award was made in favor of Ray E. Bluff against Davis, Davis Capital Group,

Inc., and Integrity Mining, LLC (the “Respondents”) relative to an agreement by Davis

Capital Group to purchase a fifty percent (50%) interest in Willow Creek Placer Group,

LLC, the owner of certain real property that is the site of the Willow Creek mine in Pershing

County, Nevada. The arbitration panel concluded that the full consideration for the agreed-

to purchase had not been paid and terminated any interest that the Respondents held in

Willow Creek Placer Group, LLC. The arbitration decision also directed Ray Bluff to




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return $175,000.00 to the Respondents provided that all equipment and living units

belonging to them or under their control were removed from the Willow Creek mine area

within sixty (60) days (the “Arbitration Award”).

       Davis appealed the Arbitration Award with the Pershing County, Nevada, District

Court, and that appeal was pending on the date of the Receivership. The Receiver’s

attorneys negotiated a resolution of the Nevada civil action with attorneys for Ray E. Bluff,

which was approved by the Court. Following the resolution of the Nevada action, on July

18, 2018, the Court approved a settlement of the issues regarding the Arbitration Award

and Bluff’s claim for attorneys’ fees whereby Bluff paid the Receivership estate a

settlement payment of $25,000.00. (Doc. No. 230).

       (9)     Mining Equipment. The Receiver identified certain mining equipment,

vehicles, and the like that constituted Receivership property located in Nevada (the

“Mining Equipment”) and collected $7,000.00 in a Court-approved settlement with certain

parties who had asserted claims as to that equipment. (Doc. No. 153).

       Ritchie Bros. Auctioneers sold the Mining Equipment at auction, resulting in a

gross recovery of 10,500.00. (Report of Sale, Doc. No. 175). The Receiver also sold a

dump truck that did not have a title or registration for $2,500.00. (See Doc. No. 189).

       (10)    Miscellaneous Personal Property.

               (a)     2014 Dodge RAM 2500. The Court entered an Order allowing the

       Receiver to abandon a Dodge Ram that was titled to Richard Davis Enterprises,

       LLC because it was encumbered by a lien that exceeded its value. (Doc. No. 77).

               (b)     Personal Property Stored at 9137 Mount Holly-Huntersville Road.

       Mr. Davis removed his personal property from the house at 9137 Mount Holly-




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               Huntersville Road in accordance with an Order entered by the Court. (Doc. No.

               96).

                       (c)    Proceeds of Sale of Lincoln County Real Property. The Receiver

               discovered that Davis had sold real property owned by Richard Davis Enterprises,

               LLC shortly before this case was filed and transferred a portion of the sale proceeds

               to Davis’s ex-wife, Kathy Galombeck. The Receiver filed a Complaint against Ms.

               Galombeck, Case No. 3:18-cv-438, asserting claims for avoidable transfers and

               unjust enrichment. Ultimately, the Court approved the Receiver’s settlement with

               Galombeck (Doc. No. 266), and a settlement payment of $30,000.00 was made to

               the Receivership estate.

       D.      Description of Claims Held by the Receivership Estate. The Receiver maintains

that all claims held by the Receivership were identified and, where possible, liquidated for the

benefit of the Receivership estate.

       E.      Communications with Investors. Early in this case, the SEC provided the

Receiver with lists of investors in the Receivership Defendants. Additional parties have also

contacted the Receiver indicating that they were investors in one or more of the Receivership

Defendants. The Receiver researched investors whose addresses were incomplete or inaccurate,

and certain of those investors filed claims that were subsequently allowed by the Court.

       Upon the Court’s direction, the Receiver was prepared to file (under seal or otherwise) a

list of purported investors known to the Receiver.

       In accordance with her duties as Special Master in the criminal case against Richard Davis,

United States v. Davis, 3:16-cr-312 (W.D.N.C.) (the “Criminal Case”), the Receiver has provided

updates to victim-investors through the Receivership webpage and email notices. During a hearing




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held on June 25, 2018, Davis was sentenced to 90 months in prison. He reported to prison on

October 1, 2018. The Receiver has kept investors abreast of all notices relative to Davis’

incarceration that she has received.

        The Criminal Case focused exclusively on losses to investors in only three of the

Receivership Defendants, DCG Real Assets, DCG PMG, and H20. The Receiver provided the

government and the defense in the Criminal Case with detailed spreadsheets showing investors’

claims against those Receivership Defendants that included dates of investments and withdrawals.

On December 6, 2018, the Court in the Criminal Case order Davis to pay $9,612,525.69 in

restitution to those investors.

        F. Other Issues.

        The Receiver received requests for information as to pre-receivership funds paid to certain

relatives of Davis and from the Internal Revenue Service, and her accountants provided an

accounting as to those payments to the I.R.S.

        G.      Status of Claims Proceedings.

        Claims Process. The Receiver filed a series of pleadings regarding her review of all claims

submitted in this case and her recommendations to the Court as to the allowed amounts of such

claims. On July 24, 2018, August 27, 2018, and December 27, 2018, the Court entered Orders on

the Receiver’s recommendations as to allowed claims. (Doc. Nos. 203, 213, 214, 215, & 234). On

July 18, 2019, the Receiver was contacted regarding an additional claim that was purportedly

submitted by email on November 26, 2018 but that the Receiver was not able to locate (the “Lost

Claim”). Because the Lost Claim was consistent with the records for the Receivership, the

Receiver filed a motion requesting that it be allowed. On August 9, 2019, the Court entered an

Order allowing the Lost Claim in the amount of $40,822.57. (Doc. No 270).




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       In sum, the total of allowed claims submitted by investors and vendors came to

$17,012,039.31.

       Distribution Procedures. On November 16, 2018, the Court entered an Order approving

the Receiver’s proposed distribution procedures, which provide for pro rata distributions on

allowed claims held by investors and vendors alike (the “Distribution Procedures Order”). (Doc.

No. 229).

       Net Winner Investors. The Receiver identified certain alleged net-winner investors;

however, the distributions that those investors received were too small to warrant litigation to

recover the excess funds. Instead, the Receiver recommended that any claims submitted by those

net winners be disallowed.

       Distribution. All funds collected from the liquidation of the Receivership Assets, less the

costs of administration of the Receivership, were distributed to investors. Distributions to investors

totaled $1,487,679.73. (Doc. Nos. 237, 282, & 290). A redistribution of $12,878.34 that was

refused by one investor, less $1,000 in fees and expenses as allowed by an Order entered on April

29, 2020 (the “Redistribution Order”). (Doc. No. 290). The three distributions to the holders of

allowed claims resulted in distributions of about 8.75%.

       The Redistribution Order also provided that any distributions of $5.00 or less and any

unclaimed distributions totaling less than $2,000.00 be turned over to the Court Registry. On June

4, 2020, the Receiver turned over a total of $5.29 in de minimis distributions, and on October 5,

2020, the Receiver turned over a total of $490.70 in unclaimed funds. Finally, the Redistribution

Order provided that $1,000.00 be remitted to the Receiver’s professionals for the costs incurred in

calculating and making the redistribution. Of that amount, $225.00 was paid to the Receiver’s

accountants, Middleswarth, Bowers & Company, Inc. (“Bowers”), and $775.00 was paid to Grier




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Wright Martinez, PA (“GWM”), the Receiver’s attorneys.

         Vendor Claims. The Court entered orders allowing vendor claims submitted by the

Gunderson Law Firm and the Henderson Law Firm. (Doc. Nos. 196 & 214). Distributions on

those claims was made in accordance with the Distribution Procedures Order.

        Administrative Claims.

        The Receiver obtained Court approval to employ GWM as her attorneys in an Order

entered on June 10, 2016. (Doc. No. 11). On June 13, 2016, the Court approved the Receiver’s

application to employ Bowers as her accountants. (Doc. No. 13). During the Receivership Case,

the Court entered Orders allowing the professional fees and expenses for GWM and Bowers.2 As

indicated in Ex. A, allowed professional fees and expenses totaled $366,149.57.

        Professional fees and expenses reflected 19.76% of the net recoveries in this case,3 well

below the 30% permitted by the SEC Guidelines. SEC Guidelines limit compensation and expense

reimbursement available to the Receiver and her professionals to thirty percent (30%) of any net

recoveries.




2
         Orders allowing compensation for GWM appear at Doc. Nos. 75, 89, 108, 133, 155, 171, 184, 211, 226, 260,
244, 273, 278, 286 & 290. Orders allowing compensation for Bowers appear at Doc. Nos. 109, 134, 154, 170, 185,
212, 227, 245, 259, 272, 279 287 & 290.
3
         Ex. B shows total asset recoveries came to $2,550,822.08. Ex. A shows that administrative expenses
associated with those recoveries came to $697,891.70. Thus, net recoveries were $1,852,930.38. The $366,149.57 in
professional fees and expenses reflects approximately 19.76% of that net amount.


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       G.       Receiver’s Recommendations.

       The Receiver represents that all Receivership Assets have been liquidated, all

administrative claims have been paid, and distributions have been made to the holders of allowed

claims. Therefore, the Receiver recommends that this case be closed as having been fully

administered.

       This is the __ day of October, 2020.

                                              /s/ A. Cotten Wright
                                              A. Cotten Wright (State Bar No. 28162)
                                              Grier Wright Martinez, PA
                                              521 E Morehead Street, Suite 440
                                              Charlotte, North Carolina 28202
                                              Phone: 704.375.3720
                                              Fax: 704.332.0215
                                              cwright@grierlaw.com

Exhibits:
   A. Standardized Fund Accounting Report
   B. List of Assets




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                    EXHIBIT A

Standardized Fund Accounting Report




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                                STANDARDIZED FUND ACCOUNTING REPORT for DCG Receivership - Cash Basis
                                                      Receivership; 3:16-CV-285
                                                Reporting Period 06/08/2019 to Closing



FUND ACCOUNTING
                                                                                    Detail        Subtotal       Grand Total
Line 1        Beginning Balance (As of 06/08/2016)                                                                        -
              Increases in Fund Balance:
Line 2        Business Income
Line 3        Cash and Securities (Exhibit 1)                                          2,954.53       2,954.53
Line 4        Interest/Dividend Income
Line 5        Business Asset Liquidation (Exhibit 1)                               2,533,245.98   2,533,245.98
Line 6        Personal Asset Liquidation
Line 7        Third-Party Litigation Income
Line 8        Miscellaneous - Other (Exhibit 1)                                      15,520.49       15,520.49
                Total Funds Available (Lines 1-8):                                                2,551,721.00    2,551,721.00
              Decreases in Fund Balance:
Line 9        Disbursements to Investors                                           1,487,679.73   1,487,679.73    1,487,679.73
Line 10       Disbursements to Receivership Operations
   Line 10a   Disbursements to Receiver or Other Professionals (Exhibit 1)          366,149.57     366,149.57
   Line 10b   Business Asset Expenses (Exhibit 1)                                   697,891.70     697,891.70
   Line 10c   Personal Asset Expenses
   Line 10d   Investment Expenses
   Line 10e   Third-Party Litigation Expenses
                1. Attorney Fees
               2. Litigation Expenses
              Total Third-Party Litigation Expenses

   Line 10f Tax Administrator Fees and Bonds
   Line 10g Federal and State Tax Payments
              Total Disbursements for Receivership Operations                      1,064,041.27   1,064,041.27    1,064,041.27

Line 11       Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a   Distribution Plan Development Expenses
           1. Fees:
             Fund Administrator
             Independent Distribution Consultant (IDC)
             Distribution Agent
             Consultants
             Legal Advisers
             Tax Advisers
           2. Administrative Expenses
           3. Miscellaneous
           Total Plan Development Expenses
   Line 11b Distribution Plan Implementation Expenses:
           1. Fees:
             Fund Administrator
             Independent Distribution Consultant (IDC)
             Distribution Agent
             Consultants
             Legal Advisers
             Tax Advisers
           2. Administrative Expenses
           3. Investor Identification
             Notice Publishing Approved Plan




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                                STANDARDIZED FUND ACCOUNTING REPORT for DCG Receivership - Cash Basis
                                                      Receivership; 3:16-CV-285
                                                Reporting Period 06/08/2019 to Closing



                Claimant Indentification
                Claims Processing
                Web Site Maintenance/Call Center
              4. Fund Administrator Bond
              5. Miscellaneous
              6. Federal Account for Investor Restitution
              (FAIR) Reporting Expenses
              Total Plan Implementation Expenses
              Total Disbursements for Distribution Expenses Paid by the Fund

Line 12       Disbursement to Court/Other
   Line 12a Investment Expenses/Court Registry Investment
           System (CRIS) Fees
   Line 12b Federal Tax Payments
            Total Disbursements to Court/Other
                Total Funds Disbursed (Lines 9-11)

Line 13       Ending Balance (As of )

Line 14       Ending Balance of Fund - Net Assets:
   Line 14a    Cash & Cash Equivalents
   Line 14b    Investments
   Line 14c    Other Assets or Uncleared Funds
              Total Ending Balance of Fund - Net Assets                                                              -
Other Supplemental Information
                                                                                    Detail       Subtotal   Grand Total
              Report of Items NOT to Be Paid by the Fund
Line 15       Disbursements for Plan Administration Expenses Not Paid by the Fund
   Line 15a    Plan Development Expenses Not Paid by the Fund:
               1. Fees:
                   Fund Administrator
                   IDC
                   Distribution Agent
                   Consultants
                   Legal Advisors
                   Tax Advisors
               2. Administrative Expenses
               3. Miscellaneous
               Total Plan Development Expenses Not Paid by the Fund
   Line 15b    Plan Implementation Expenses Not Paid by the Fund
               1. Fees:
                   Fund Administrator
                   IDC
                   Distribution Agent
                   Consultants
                   Legal Advisors
                   Tax Advisors
               2. Administrative Expenses
               3. Investor Indentification
                   Notice/Publishing Approved Plan




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                               STANDARDIZED FUND ACCOUNTING REPORT for DCG Receivership - Cash Basis
                                                     Receivership; 3:16-CV-285
                                               Reporting Period 06/08/2019 to Closing



                   Claimant Identification
                   Claims Processing
                   Web Site Maintenance/Call Center
               4. Fund Administrator Bond
               5. Miscellaneous
               6. FAIR Reporting Expenses
               Total Plan Implementation Expenses Not Paid by the Fund
   Line 15c    Tax Adminstrator Fees & Bonds Not Paid by the Fund
              Total Disbursements for Plan Adminstration Expenses Not Paid by the Fund
Line 16       Disbursements to Court/Other Not Paid by the Fund
   Line 16a    Investment Expenses/CRIS Fees
   Line 16b    Federal Tax Payments
               Total Disbursements to Court/Other Not Paid by the Fund
Line 17       DC & State Tax Payments
Line 18       No. of Claims
   Line 18a    # of Claims Received This Reporting Period
   Line 18b    #of Claims Received Since Inception of Fund
Line 19       No. of Claimants/Investors
   Line 19a    # of Claimants/Investors Paid This Reporting Period                                   114    114
   Line 19b    # of Claimants/Investors Paid Since Inception of Fund                                        114

                                                                                         Receiver

                                                                                         By:


                                                                                         A. Cotten Wright
                                                                                         (printed name)

                                                                                         Receiver
                                                                                         (title)


                                                                                         Date:




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                                                                      EXHIBIT 1

                                 STANDARDIZED FUND ACCOUNTING REPORT for DCG Receivership - Cash Basis
                                                        Receivership; 3:16-CV-285
                                                Reporting Period 06/08/2016 to 10/01/2020




DETAIL OF LINE 3, Cash and Securities

                                                        Description                                        Amount           Total
         Bank Account Closed - Bank of North Carolina                                                          1.53
         Bank Account Closed - Bank of the Ozarks                                                             22.00
         Bank Account Closed - Aquesta Bank                                                                2,931.00
                                                                                                                         2,954.53

DETAIL OF LINE 5, Business Asset Liquidation

                                                          Description                                      Amount           Total
         Surplus Proceeds - Tax Sale McDowell County property of H2O, LLC                                196,225.56
         Grier Furr & Crisp Trust Account - payment for easement Alexandra Rd (Order DE 99)                5,350.00
         Grier, Furr & Crips - Proceeds from sale to Town of Huntersville                                155,292.42
         Gross Proceeds - Sale 9137 Mount Holly-Huntersville Road                                        140,000.00
         Gross Proceeds - Sale 16614 Old Statesville Road                                                700,000.00
         Auction proceeds of mining equipment by Ritchie Bros                                             10,500.00
         Sale of Lot 5330 Beacon Ridge                                                                    10,500.00
         Refund of HOA Fees - Lot 5330 Beacon Ridge                                                          878.00
         Sale of Dump Truck                                                                                2,500.00
         Ray Bluff - Settlement Payment (DE 230)                                                          25,000.00
         Wright v Wellmon 3:17-cv-292 - mining equipment initial settlement payment                        1,000.00
         Wright v Wellmon 3:17-cv-292 - mining equipment initial settlement payment                        6,000.00
         Sale of Property - Grayson County                                                               475,000.00
         Settlement of Galombeck Litigation                                                               30,000.00
         11711 Alexandriana Land, LLC                                                                    720,000.00
         Earnest money & non-refundable extension fee                                                     55,000.00
                                                                                                                      2,533,245.98

DETAIL OF LINE 8, Miscellaneous Other

                                                        Description                                        Amount           Total

         Disgorgement of Profits by DCG Commerical Holdings, LLC                                          13,677.57
         Escrow Account Dezrene M Gerald - Forfeited earnest money 9137 Mount Holly-Huntersville Rd        1,000.00
         Duke Energy - Partial Refund of deposit 9137 Mount Holly-Huntersville Road                           20.92
         Grier Wright Martinez, PA - refund of Lenior News cancelled ad for Achors Landing Property          822.00
                                                                                                                        15,520.49



DETAIL OF LINE 9, Disbursements to Investors

                                                        Description                                        Amount           Total
         Dividend on Claim 1                                                                                 866.18
         Dividend on Claim 2                                                                               2,062.32
         Dividend on Claim 3                                                                              10,311.58
         Dividend on Claim 4                                                                               1,649.86
         Dividend on Claim 5                                                                              29,329.47
         Dividend on Claim 6                                                                               3,839.25
         Dividend on Claim 7                                                                               1,384.37
         Dividend on Claim 8                                                                                 824.94
         Dividend on Claim 9                                                                               1,649.86
         Dividend on Claim 10                                                                              2,062.32
         Dividend on Claim 13                                                                              1,031.17
         Dividend on Claim 14                                                                             35,424.96
         Dividend on Claim 18                                                                              2,062.32
         Dividend on Claim 19                                                                              2,062.32
         Dividend on Claim 20                                                                              1,031.17
         Dividend on Claim 21A                                                                             7,903.01
         Dividend on Claim 21B                                                                               950.78
         Dividend on Claim 23                                                                              4,743.33
         Dividend on Claim 25                                                                              4,124.63
         Dividend on Claim 26                                                                              1,849.57



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                                                  EXHIBIT 1

                     STANDARDIZED FUND ACCOUNTING REPORT for DCG Receivership - Cash Basis
                                            Receivership; 3:16-CV-285
                                    Reporting Period 06/08/2016 to 10/01/2020



Dividend on Claim 27                                                                          2,062.31
Dividend on Claim 28                                                                         17,644.47
Dividend on Claim 29                                                                         13,026.90
Dividend on Claim 36                                                                          3,617.38
Dividend on Claim 37                                                                          2,062.31
Dividend on Claim 39                                                                          2,062.31
Dividend on Claim 40                                                                          8,489.19
Dividend on Claim 42                                                                         11,054.01
Dividend on Claim 43A                                                                         6,186.94
Dividend on Claim 43B                                                                         9,570.80
Dividend on Claim 45                                                                          8,249.26
Dividend on Claim 46                                                                            860.50
Dividend on Claim 47                                                                          1,436.31
Dividend on Claim 50                                                                          1,505.42
Dividend on Claim 51                                                                          1,294.02
Dividend on Claim 53                                                                          4,820.95
Dividend on Claim 101                                                                        22,541.35
Dividend on Claim 102                                                                         2,924.35
Dividend on Claim 103                                                                         5,736.08
Dividend on Claim 105                                                                         1,091.67
Dividend on Claim 106                                                                         5,429.92
Dividend on Claim 107                                                                         4,268.80
Dividend on Claim 108                                                                        10,604.57
Dividend on Claim 109A                                                                        3,869.93
Dividend on Claim 109B                                                                        1,237.39
Dividend on Claim 110                                                                         5,341.97
Dividend on Claim 111                                                                        10,311.57
Dividend on Claim 112                                                                        22,445.85
Dividend on Claim 113                                                                        15,677.23
Dividend on Claim 114                                                                           198.94
Dividend on Claim 115                                                                         6,205.05
Dividend on Claim 116                                                                         1,093.71
Dividend on Claim 117                                                                        34,404.73
Dividend on Claim 118                                                                           362.78
Dividend on Claim 119                                                                           739.01
Dividend on Claim 120                                                                         5,241.89
Dividend on Claim 121                                                                         5,466.60
Dividend on Claim 122A                                                                           64.28
Dividend on Claim 122B                                                                        4,714.28
Dividend on Claim 122C                                                                        6,282.97
Dividend on Claim 124                                                                         4,124.63
Dividend on Claim 125                                                                         2,062.31
Dividend on Claim 126                                                                         2,037.57
Dividend on Claim 127A                                                                        6,393.18
Dividend on Claim 127B                                                                       38,259.74
Dividend on Claim 128A                                                                        2,516.02
Dividend on Claim 128B                                                                        7,939.91
Dividend on Claim 128C                                                                        4,057.39
Dividend on Claim 129                                                                         8,028.06
Dividend on Claim 130                                                                        35,899.54
Dividend on Claim 131                                                                         2,062.31
Dividend on Claim 132                                                                         2,062.31
Dividend on Claim 133                                                                            41.25
Dividend on Claim 134                                                                        12,492.26
Dividend on Claim 135                                                                         2,103.56
Dividend on Claim 136                                                                           680.56
Dividend on Claim 137                                                                         2,919.38
Dividend on Claim 138                                                                         2,062.31
Dividend on Claim 139                                                                         3,400.76
Dividend on Claim 140                                                                         1,649.85
Dividend on Claim 142                                                                        16,737.40
Dividend on Claim 143                                                                         4,244.24
Dividend on Claim 144                                                                         1,529.79
Dividend on Claim 145                                                                         1,237.39
Dividend on Claim 146                                                                         4,124.63
Dividend on Claim 147                                                                         1,031.16



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Dividend on Claim 148                                                                           639.32
Dividend on Claim 149A                                                                        3,505.94
Dividend on Claim 149B                                                                        9,055.58
Dividend on Claim 149C                                                                        3,624.64
Dividend on Claim 150                                                                         9,903.24
Dividend on Claim 152                                                                        11,407.37
Dividend on Claim 153                                                                           381.66
Dividend on Claim 154                                                                         3,093.47
Dividend on Claim 155                                                                           898.15
Dividend on Claim 156                                                                           866.17
Dividend on Claim 157                                                                         2,819.38
Dividend on Claim 159A                                                                        4,520.18
Dividend on Claim 159B                                                                        6,186.94
Dividend on Claim 159C                                                                          412.46
Dividend on Claim 159D                                                                        2,062.31
Dividend on Claim 159E                                                                       18,333.43
Dividend on Claim 159F                                                                        2,474.78
Dividend on Claim 161                                                                         2,652.68
Dividend on Claim 162                                                                         6,186.94
Dividend on Claim 163                                                                         4,517.69
Dividend on Claim 164                                                                         6,139.66
Dividend on Claim 165                                                                           345.17
Dividend on Claim 166                                                                        12,373.89
Dividend on Claim 167                                                                         4,124.63
Dividend on Claim 168                                                                         2,860.43
Dividend on Claim 169                                                                        13,181.08
Dividend on Claim 170                                                                        12,373.89
Dividend on Claim #170                                                                        1,679.73
Dividend on Claim 1                                                                              971.49
Dividend on Claim 2                                                                            2,313.05
Dividend on Claim 3                                                                           11,565.28
Dividend on Claim 4                                                                            1,850.44
Dividend on Claim 5                                                                           32,895.39
Dividend on Claim 6                                                                            4,306.02
Dividend on Claim 7                                                                            1,552.67
Dividend on Claim 8                                                                              925.21
Dividend on Claim 9                                                                            1,850.44
Dividend on Claim 10                                                                           2,313.05
Dividend on Claim 13                                                                           1,156.52
Dividend on Claim 14                                                                          39,732.00
Dividend on Claim 18                                                                           2,313.05
Dividend on Claim 19                                                                           2,313.05
Dividend on Claim 20                                                                           1,156.52
Dividend on Claim 21A                                                                          8,863.85
Dividend on Claim 21B                                                                          1,066.35
Dividend on Claim 23                                                                           5,320.02
Dividend on Claim 25                                                                           4,626.11
Dividend on Claim 26                                                                           2,074.44
Dividend on Claim 27                                                                           2,313.06
Dividend on Claim 28                                                                          19,789.72
Dividend on Claim 29                                                                          14,610.74
Dividend on Claim 36                                                                           4,057.19
Dividend on Claim 37                                                                           2,313.06
Dividend on Claim 39                                                                           2,313.06
Dividend on Claim 40                                                                           9,521.32
Dividend on Claim 42                                                                          12,397.98
Dividend on Claim 43A                                                                          6,939.17
Dividend on Claim 43B                                                                         10,734.43
Dividend on Claim 45                                                                           9,252.22
Dividend on Claim 46                                                                             965.12
Dividend on Claim 47                                                                           1,610.93
Dividend on Claim 50                                                                           1,688.46
Dividend on Claim 51                                                                           1,451.35
Dividend on Claim 53                                                                           5,407.09
Dividend on Claim 101                                                                         25,281.98
Dividend on Claim 102                                                                          3,279.89



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Dividend on Claim 103                                                                         6,433.49
Dividend on Claim 105                                                                         1,224.39
Dividend on Claim 106                                                                         6,090.10
Dividend on Claim 107                                                                         4,787.82
Dividend on Claim 108                                                                        11,893.89
Dividend on Claim 109A                                                                        4,340.45
Dividend on Claim 109B                                                                        1,387.83
Dividend on Claim 110                                                                         5,991.46
Dividend on Claim 111                                                                        11,565.29
Dividend on Claim 112                                                                        25,174.86
Dividend on Claim 113                                                                        17,583.31
Dividend on Claim 114                                                                           223.12
Dividend on Claim 115                                                                         6,959.48
Dividend on Claim 116                                                                         1,226.69
Dividend on Claim 117                                                                        38,587.74
Dividend on Claim 118                                                                           406.90
Dividend on Claim 119                                                                           828.87
Dividend on Claim 120                                                                         5,879.22
Dividend on Claim 121                                                                         6,131.25
Dividend on Claim 122A                                                                           72.09
Dividend on Claim 122B                                                                        5,287.45
Dividend on Claim 122C                                                                        7,046.87
Dividend on Claim 124                                                                         4,626.11
Dividend on Claim 125                                                                         2,313.06
Dividend on Claim 126                                                                         2,285.30
Dividend on Claim 127A                                                                        7,170.47
Dividend on Claim 127C                                                                       42,911.44
Dividend on Claim 128A                                                                        2,821.93
Dividend on Claim 128B                                                                        8,905.27
Dividend on Claim 128C                                                                        4,550.69
Dividend on Claim 129                                                                         9,004.12
Dividend on Claim 130                                                                        40,264.29
Dividend on Claim 131                                                                         2,313.06
Dividend on Claim 132                                                                         2,313.06
Dividend on Claim 133                                                                            46.26
Dividend on Claim 134                                                                        14,011.09
Dividend on Claim 135                                                                         2,359.32
Dividend on Claim 136                                                                           763.31
Dividend on Claim 137                                                                         3,274.32
Dividend on Claim 138                                                                         2,313.06
Dividend on Claim 139                                                                         3,814.23
Dividend on Claim 140                                                                         1,850.45
Dividend on Claim 142                                                                        18,772.38
Dividend on Claim 143                                                                         4,760.27
Dividend on Claim 144                                                                         1,715.78
Dividend on Claim 145                                                                         1,387.83
Dividend on Claim 146                                                                         4,626.11
Dividend on Claim 147                                                                         1,156.53
Dividend on Claim 148                                                                           717.05
Dividend on Claim 149A                                                                        3,932.19
Dividend on Claim 149B                                                                       10,156.58
Dividend on Claim 149C                                                                        4,065.34
Dividend on Claim 150                                                                        11,107.29
Dividend on Claim 152                                                                        12,794.30
Dividend on Claim 153                                                                           428.06
Dividend on Claim 154                                                                         3,469.59
Dividend on Claim 155                                                                         1,007.36
Dividend on Claim 156                                                                           971.49
Dividend on Claim 157                                                                         3,162.16
Dividend on Claim 159A                                                                        5,069.76
Dividend on Claim 159B                                                                        6,939.17
Dividend on Claim 159C                                                                          462.61
Dividend on Claim 159D                                                                        2,313.06
Dividend on Claim 159E                                                                       20,562.46
Dividend on Claim 159F                                                                        2,775.67
Dividend on Claim 161                                                                         2,975.21



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Dividend on Claim 162                                                                          6,939.17
Dividend on Claim 163                                                                          5,066.96
Dividend on Claim 164                                                                          6,886.14
Dividend on Claim 165                                                                            387.13
Dividend on Claim 167                                                                          4,626.11
Dividend on Claim 168                                                                          3,208.21
Dividend on Claim 169                                                                         14,783.67
Dividend on Claim 170                                                                         13,878.34
Dividend on Claim 171                                                                          1,892.55
Redistribution on Claim 1                                                                        $16.18
Redistribution on Claim 2                                                                        $38.54
Redistribution on Claim 3                                                                      $192.65
Redistribution on Claim 4                                                                        $30.82
Redistribution on Claim 5                                                                      $547.96
Redistribution on Claim 6                                                                        $71.73
Redistribution on Claim 7                                                                        $25.86
Redistribution on Claim 8                                                                        $15.41
Redistribution on Claim 9                                                                        $30.82
Redistribution on Claim 10                                                                       $38.53
Redistribution on Claim 13                                                                       $19.26
Redistribution on Claim 14                                                                     $661.84
Redistribution on Claim 18                                                                       $38.53
Redistribution on Claim 19                                                                       $38.53
Redistribution on Claim 20                                                                       $19.26
Redistribution on Claim 21A                                                                    $147.65
Redistribution on Claim 21B                                                                      $17.77
Redistribution on Claim 23                                                                       $88.62
Redistribution on Claim 25                                                                       $77.06
Redistribution on Claim 26                                                                       $34.55
Redistribution on Claim 27                                                                       $38.53
Redistribution on Claim 28                                                                     $329.65
Redistribution on Claim 29                                                                     $243.39
Redistribution on Claim 36                                                                       $67.58
Redistribution on Claim 37                                                                       $38.53
Redistribution on Claim 39                                                                       $38.53
Redistribution on Claim 40                                                                     $158.60
Redistribution on Claim 42                                                                     $206.52
Redistribution on Claim 43A                                                                    $115.59
Redistribution on Claim 43B                                                                    $178.81
Redistribution on Claim 45                                                                     $154.13
Redistribution on Claim 46                                                                       $16.08
Redistribution on Claim 47                                                                       $26.84
Redistribution on Claim 50                                                                       $28.13
Redistribution on Claim 51                                                                       $24.18
Redistribution on Claim 53                                                                       $90.07
Redistribution on Claim 101                                                                    $421.14
Redistribution on Claim 102                                                                      $54.64
Redistribution on Claim 103                                                                    $107.17
Redistribution on Claim 105                                                                      $20.39
Redistribution on Claim 106                                                                    $101.44
Redistribution on Claim 107                                                                      $79.75
Redistribution on Claim 108                                                                    $198.13
Redistribution on Claim 109A                                                                     $72.31
Redistribution on Claim 109B                                                                     $23.12
Redistribution on Claim 110                                                                      $99.80
Redistribution on Claim 111                                                                    $192.65
Redistribution on Claim 112                                                                    $419.36
Redistribution on Claim 113                                                                    $292.90
Redistribution on Claim 114                                                                       $3.72
Redistribution on Claim 115                                                                    $115.93
Redistribution on Claim 116                                                                      $20.43
Redistribution on Claim 117                                                                    $642.79
Redistribution on Claim 118                                                                       $6.77
Redistribution on Claim 119                                                                      $13.81
Redistribution on Claim 120                                                                      $97.93
Redistribution on Claim 121                                                                    $102.13



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         Redistribution on Claim 122A                                                                       $1.20
         Redistribution on Claim 122B                                                                      $88.07
         Redistribution on Claim 122C                                                                     $117.38
         Redistribution on Claim 124                                                                       $77.06
         Redistribution on Claim 125                                                                       $38.53
         Redistribution on Claim 126                                                                       $38.06
         Redistribution on Claim 127A                                                                     $119.44
         Redistribution on Claim 127C                                                                     $714.81
         Redistribution on Claim 128A                                                                      $47.01
         Redistribution on Claim 128B                                                                     $148.34
         Redistribution on Claim 128C                                                                      $75.80
         Redistribution on Claim 129                                                                      $149.99
         Redistribution on Claim 130                                                                      $670.72
         Redistribution on Claim 131                                                                       $38.53
         Redistribution on Claim 132                                                                       $38.53
         Redistribution on Claim 133                                                                        $0.77
         Redistribution on Claim 134                                                                      $233.39
         Redistribution on Claim 135                                                                       $39.30
         Redistribution on Claim 136                                                                       $12.72
         Redistribution on Claim 137                                                                       $54.55
         Redistribution on Claim 138                                                                       $38.53
         Redistribution on Claim 139                                                                       $63.53
         Redistribution on Claim 140                                                                       $30.82
         Redistribution on Claim 142                                                                      $312.70
         Redistribution on Claim 143                                                                       $79.30
         Redistribution on Claim 144                                                                       $28.58
         Redistribution on Claim 145                                                                       $23.12
         Redistribution on Claim 146                                                                       $77.06
         Redistribution on Claim 147                                                                       $19.26
         Redistribution on Claim 148                                                                       $11.94
         Redistribution on Claim 149A                                                                      $65.50
         Redistribution on Claim 149B                                                                     $169.19
         Redistribution on Claim 149C                                                                      $67.72
         Redistribution on Claim 150                                                                      $185.02
         Redistribution on Claim 152                                                                      $213.12
         Redistribution on Claim 153                                                                        $7.13
         Redistribution on Claim 154                                                                       $57.79
         Redistribution on Claim 155                                                                       $16.78
         Redistribution on Claim 156                                                                       $16.18
         Redistribution on Claim 157                                                                       $52.67
         Redistribution on Claim 159A                                                                      $84.45
         Redistribution on Claim 159B                                                                     $115.59
         Redistribution on Claim 159C                                                                       $7.71
         Redistribution on Claim 159D                                                                      $38.53
         Redistribution on Claim 159E                                                                     $342.53
         Redistribution on Claim 159F                                                                      $46.23
         Redistribution on Claim 161                                                                       $49.56
         Redistribution on Claim 162                                                                      $115.59
         Redistribution on Claim 163                                                                       $84.41
         Redistribution on Claim 164                                                                      $114.71
         Redistribution on Claim 165                                                                        $6.45
         Redistribution on Claim 167                                                                       $77.06
         Redistribution on Claim 168                                                                       $53.44
         Redistribution on Claim 169                                                                      $246.26
         Redistribution on Claim 170                                                                      $231.18
         Redistribution on Claim 171                                                                       $31.46
                                                                                                                    1,487,679.73

DETAIL OF LINE 10a, Disbursements to Receiver or Other Professionals

                                                        Description                                      Amount           Total
         Grier, Furr & Crisp, PA Allowed attorney fees                                                  59,184.50
         Grier, Furr & Crisp, PA Allowed attorney expenses                                               2,647.46
         Middleswarth, Bowers & Co - Accounting fees allowed                                             1,873.78
         Grier, Furr & Crisp - Attorneys fees allowed                                                   37,700.27
         Grier, Furr and Crisp - Attorney Expenses for Receiver                                          2,054.88



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         Grier, Furr and Crisp - Attorney Legal Fees for Receiver                                       27,945.12
         Grier, Furr & Crisp, PA                                                                        62,692.94
         Middleswarth, Bowers & Co., LLP                                                                17,017.57
         Middleswarth, Bowers & Co., LLP                                                                   374.55
         Grier, Furr & Crisp, PA                                                                        18,048.49
         Grier, Furr & Crisp, PA - Allowed Attorney's Fees                                              21,570.50
         Grier, Furr & Crisp, PA - Allowed Attorney's Expenses                                             101.64
         Middleswarth, Bowers & Co., LLP - Allowed Accountants' Fees                                     2,768.00
         Middleswarth, Bowers & Co., LLP - Allowed Accountants' Expenses                                     1.77
         Grier, Furr & Crisp PA - Receivers attorneys fees (Order DE 211)                               43,677.50
         Grier, Furr & Crisp PA - Receivers expenses (Order DE 211)                                        409.87
         Middleswarth, Bowers & Co. - Receivers accountant fees (order DE 212)                           3,402.25
         Middleswarth, Bowers & Co. - Receivers accountant expenses (order DE 212)                          41.46
         Grier, Furr & Crisp, PA - Attorney fees                                                        12,794.00
         Grier, Furr & Crisp, PA - Attorney expenses                                                       553.11
         Middleswarth, Bowers & Co., LLP - Accountant fees                                                 352.50
         Middleswarth, Bowers & Co., LLP - Accountant expenses                                              40.80
         Grier, Furr & Crisp PA - Attorney Fees (DE 244)                                                14,577.00
         Grier, Furr & Crisp PA - Attorney Expenses (DE 244)                                             1,222.42
         Middleswarth Bowers & Co LLP - Accountant Fees (DE 245)                                           225.00
         Grier Wright Martinez, PA - Attorneys Fees                                                     14,425.50
         Grier Wright Martinez, PA - Attorneys Expenses                                                     99.51
         Middleswarth, Bowers & Co - Accountant Fees                                                     1,068.75
         Middleswarth, Bowers & Co - Accountant Expenses                                                     1.80
         Grier Wright Martinez, PA - Attorneys Fees                                                      5,346.00
         Grier Wright Martinez, PA - Attorneys Expenses                                                    737.30
         Middleswarth, Bowers & Co - Accountant Fees                                                     2,277.25
         Middleswarth, Bowers & Co - Accountant Expenses                                                    42.94
         Grier, Furr & Crisp PA - Attorney Fees (DE 278)                                                 4,309.00
         Grier, Furr & Crisp PA - Attorney Expenses (DE 279)                                                 3.50
         Middleswarth Bowers & Co LLP - Accountant Expenses (DE 279)                                        37.00
         Middleswarth Bowers & Co LLP - Accountant Fees (DE 279)                                           318.75
         Grier, Furr & Crisp PA - Attorney Fees & Expenses (Final)                                       2,712.39
         Middleswarth Bowers & Co LLP - Accountant Fees & Expenses (Final)                               2,492.50
         Grier, Furr & Crisp PA - Attorney Fees & Expenses (Redistribution)                                775.00
         Middleswarth Bowers & Co LLP - Accountant Fees & Expenses (Redistribution)                        225.00
                                                                                                                    366,149.57

DETAIL OF LINE 10b, Business Asset Expenses

                                                          Description                                    Amount         Total
         Title Search Fees                                                                               2,105.00
         Liability Insurance                                                                             1,510.00
         Bank Reseach Fees                                                                                 445.73
         IT Expenses                                                                                       690.41
         Apprisal Fee, 16618 Old Statesville Rd, Huntersville                                            2,000.00
         Brenda Kiser Real Estate Research Title search fees Granite Falls lot                             180.00
         Caldwell County Clerk of Court Recording fees Granite Falls lot                                    26.00
         Trustee Insurance Agency Seneca Renewal premium for insurance                                   1,510.00
         Paul Gadd Appraisal fee for 5330 Beacon Ridge Dr Granite Falls                                    300.00
         A Cotten Wright Reimbursement for Locksmith Mt Holly house                                        335.00
         United States District Court Certified Copy Fee                                                    11.50
         Zielinski, Inc Title Search Fee                                                                   321.00
         Crown, Stanley and Silverman Private Investigator Fees Nevada                                   1,374.84
         Trustee Insurance Agency - Insurance on 9137 Mount Holly- Huntersville Rd                         450.00
         Yeatts Real Estate Appraisals of SW Virginia                                                    4,000.00
         City of Charlotte - Water & Sewer service 9137 Mount Holly- Huntersville Rd                        41.22
         Mecklenburg County Register of Deeds - Recording Judgment Fee on JBC                               26.00
         Duke Energy - Electrical service for 9137 Mount Holly- Huntersville Rd                             50.76
         Trustee Insurance Agency - Insurance on estate assets                                           1,510.00
         T.B. Harris, Jr & Associates - Appraisal of Alexandirana Road                                   2,350.00
         City of Charlotte - Water & Sewer service 9137 Mount Holly- Huntersville Rd                         4.58
         Duke Energy - Electrical service for 9137 Mount Holly- Huntersville Rd                             36.06
         City of Charlotte - Water & Sewer service 9137 Mount Holly- Huntersville Rd                         6.98



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Thompson-Smith, Inc - Appraisal of 9137 Mount Holly-Huntersville Rd                             500.00
Duke Energy - Electrical service for 9137 Mount Holly- Huntersville Rd                           37.52
City of Charlotte - Water service 9137 Mount Holly Huntersville Rd                                6.32
Essex Richards - Trustee's commission 17-SP-174                                               1,970.01
Mecklenburg County Register of Deeds - substitute trustee's deed                                200.00
Mecklenburg County Register of Deeds - filing fee trustee's deed                                 26.00
Mecklenburg County Register of Deeds - notice of foreclosure                                     26.00
Duke Energy - electrical service 9137 Mount Holly Huntersville Rd                                32.35
Trustee Insurance Agency - insurance premium                                                  1,510.00
City of Charlotte - Water service 9137 Mount Holly Huntersville Rd                                6.54
Essex Richards - court fees foreclosure of Huntersville property                                450.00
Apex Exterminating - inspection 9137 Mount Holly Huntersville Rd                                 65.00
S&F Landscaping & Maintenance - 9137 Mount Holly Huntersville Rd                                730.00
Appalachian Power - electrical service Grayson County property                                   13.84
Duke Energy - electrical service 9137 Mount Holly Huntersville Rd                                20.63
United Country Collins & Associates - reimbursement for locksmith & electrician                 124.00
Apex Exterminating - termite treatment 9137 Mount Holly Huntersville Rd                       1,190.00
Apex Exterminating - installation of vapor barrier 9137 Mount Holly Huntersville Rd             395.00
Morris Depew Realty - reimbursement for mowing expense                                           60.00
City of Charlotte - Water service 9137 Mount Holly Huntersville Rd                                8.56
Trustee Insurance Agency - renewal of coverage 9137 Mount Holly Huntersville Rd                 150.00
Duke Energy - 9137 Mt Holly-Huntersville                                                         36.45
Meck Times & Lawyers Weekly - Advertising for 9137 Mt Holly-Huntersville                        528.96
Morris Depew Realty - Reimbursement lawn care 9137 Mt Holly-Huntersville                        100.00
City of Charlotte - 9137 Mt Holly-Huntersville                                                    7.90
Barefoot Professional Investigations - Service of complaint                                     140.00
Appalachian Power - Grayson County property                                                      23.65
Duke Energy - 9137 Mt Holly-Huntersville                                                         33.91
Morris Depew Realty - Reimbursement lawn care 9137 Mt Holly-Huntersville                        100.00
Trustee Insurance Agency - Insurance 9137 Mt Holly-Huntersville                                 150.00
A Cotton Wright - Reimbursement Dave Schirrick mining equipment repair                        7,552.30
Morris Depew Realty - Reimbursement lawn care 9137 Mt Holly-Huntersville                        100.00
City of Charlotte - 9137 Mt Holly-Huntersville                                                    7.15
Crown Stanley and Silverman - Investigative Services expenses                                 7,324.43
Appalachian Power - Grayson County property                                                      11.75
Meck Times & Lawyers Weekly - Advertising for 9137 Mt Holly-Huntersville                        522.88
Duke Energy - 9137 Mt Holly-Huntersville                                                         16.82
Morris Depew Realty - Reimbursement lawn care 9137 Mt Holly-Huntersville                        100.00
Trustee Insurance Agency - Insurance                                                          1,150.00
Dave Schirrick Co, LLC - Mining equipment work                                                1,910.43
Trustee Insurance Agency - Insurance 9137 Mt Holly-Huntersville                                 150.00
Morris Depew Realty - Reimbursement lawn care 9137 Mt Holly-Huntersville                        100.00
Apex Exterminating - 9137 Mt Holly-Huntersville stop payment on check                           (65.00)
City of Charlotte - 9137 Mt Holly-Huntersville                                                    7.67
Apex Exterminating - 9137 Mt Holly-Huntersville                                                  65.00
Appalachian Power - Grayson County property                                                      11.75
Morris Depew Realty - Lawn care 9137 Mount Holly-Huntersville Road                              200.00
Zielinski, Inc - Legal description 16614 Old Statesville Road                                    45.00
Duke Energy - 9137 Mount Holly-Huntersville Road                                                 17.05
Wood Works Engineering - Engineering report 9137 Mount Holly-Huntersville Road                  450.00
Mecklenburg Times and Lawyers Weekly - Advertising 9137 Mount Holly-Huntersville Road           541.12
City of Charlotte - Water 9137 Mount Holly-Huntersville Road                                      8.53
Appalachian Power - Electrical service Grayson County Property                                   11.75
Morris Depew Realty - Lawn care 9137 Mount Holly-Huntersville Road                              100.00
Duke Energy - 9137 Mount Holly-Huntersville Road                                                 26.27
Trustee Insurance Agency - Insurance on parcels of vacant land                                1,150.00
Trustee Insurance Agency - Insurance on 9137 Mount Holly-Huntersville Road                      150.00
City of Charlotte - Water 9137 Mount Holly-Huntersville Road                                     79.50
Morris Depew Realty - Lawn care 9137 Mount Holly-Huntersville Road                              100.00
Appalachian Power - Electrical service Grayson County Property                                   84.18



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                                                                     EXHIBIT 1

                                STANDARDIZED FUND ACCOUNTING REPORT for DCG Receivership - Cash Basis
                                                       Receivership; 3:16-CV-285
                                               Reporting Period 06/08/2016 to 10/01/2020



         Mecklenburg County Real Property Taxes - Sale 9137 Mount Holly-Huntersville Road                 1,878.37
         Realtor Commission - Sale 9137 Mount Holly-Huntersville Road                                     8,400.00
         Hunoval & Associates - Wire Fee Sale 9137 Mount Holly-Huntersville Road                             25.00
         Mecklenburg County - Document stamps Sale 9137 Mount Holly-Huntersville Road                       280.00
         Mecklenburg County Real Property Taxes - Sale 9137 Mount Holly-Huntersville Road                 3,036.43
         Appalachian Power - Electrical service Grayson County Property                                       4.23
         Trustee Isurance Agency - Insurance on 9137 Mount Holly-Huntersville Road                          150.00
         City of Charlotte - Water 9137 Mount Holly-Huntersville Road                                        48.19
         Madhusudan and Bina Shah - Net proceeds Sale 9137 Mount Holly-Huntersville Road                 66,084.45
         Trinity Partners - Realtor Commission Sale 16614 Old Statesville Road                           28,000.00
         Mecklenburg County Tax Collector - Property taxes Sale 16614 Old Statesville Road                6,460.49
         Mecklenburg Count Tax Collector - Recording Fees Sale 16614 Old Statesville Road                    36.00
         Coldwell Banker - Realtor Commission Sale 16614 Old Statesville Road                            28,000.00
         Trustee Insurance Agency Seneca                                                                    970.00
         Ritchie Bros. commission on auction of mining equipment                                          1,050.00
         Ritchie Bros hauling charge of mining equipment                                                  3,150.00
         Ritchie Bros hauling surcharge charge of mining equipment                                          315.00
         Condlwell Banker Boyed - Realtor Commission Lot 5330 Beacon Ridge                                  525.00
         Anchor's Landing HOA - HOA Fees                                                                  5,082.69
         Iredell County Tax Collector - Lot 5330 Beacon Ridge Property Taxes                              4,241.63
         Hamby & Hamby PA - Closing Costs Lot 5330 Beacon Ridge                                              47.00
         Trustee Insurance Agency Seneca - Insurance Premium for May 2018                                   970.00
         Trustee Insurance Agency Seneca - Insurance Renewal                                                979.25
         Trustee Insurance Agency Seneca - Insurance on Grayson County & Huntersville Properties            979.25
         United County Collins & Assoc - Realtor Commission Grayson County Property                      28,500.00
         Grayson County Tax Collection - Grayson County Property                                            473.74
         Closing Costs - Grayson County Property                                                            984.50
         Trustee Insurance Agency Seneca - Grayson County Property                                          127.77
         trustee Insurance Agency Seneca - Alexandria Road Property                                         195.00
         Kenneth Hageman Revocable Trust - Grayson County Property (Order DE 104)                       274,590.77
         Trustee Insurance Agency - Insurance Premium Alexandriana Road                                     195.00
         11711 Alexandriana Land, LLC - Mecklenburg County Taxes                                        110,314.21
         11711 Alexandriana Land, LLC - 2019 Pro-rated Mecklenburg County Taxes                           8,326.43
         11711 Alexandriana Land, LLC - Realtor Commissions                                              62,000.00
         11711 Alexandriana Land, LLC - Excise Taxes                                                      1,550.00
         Trustess Insurance Agency - Insurance 11711 Alexandriana Land                                       65.00
                                                                                                                     697,891.70



DETAIL OF LINE 14a, Cash & Cash Equivalents                                                                              Total

                                                       Description
         Metropolitan Commercial Bank XXXXXX7967                                                                            -




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                    EXHIBIT B
                Case Asset Report




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